Case 2:05-CV-02145-SHI\/|-tmp Document 46 Filed 08/05/05 Page 1 of 3 Page|D 36

FBHDBY 4_ D£.
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE USAUG“S AH\U;QS
WESTERN DIVISION

 

THOW.S-M~GN-D
U.S DTSW£T CO\BT
HELEN RI CHARDSON, ` W , CF '1 r);.`€?y¥PHIS
Plaintiff,
vs. No. 05-2145-Mav

MARION DUGDALE, M.D., ET AL.,

Defendants.

 

ORDER GRANTING MOTION FOR ADDITIONAL TIME TO RESPOND

 

Before the court is the August l, 2005, joint motion of the
parties requesting an extension of time Within Which plaintiff
may file a response to defendant Campbell Clinic's motion for
summary judgment. For good cause shown, the motion is granted.
The plaintiff shall have additional time to and including
September 28, 2005, within which to file a response.

It is so ORDERED this S 3Jkday of August, 2005.

y // /Vk
SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

.th dipw~*gaseth=c¢rnp¥ance

T:;is document env-wmc r‘" ga g;

w#QM'-`*@MJ` v mm _p €/by

 

August 8, 2005 to the parties listed.

Notice of Distribution

This notice confirms a copy cf the document docketed as number 46 in
case 2:05-CV-02145 Was distributed by faX, mail, or direct printing on

ESSEE

 

Albert C. Harvey

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

l\/lemphis7 TN 38103--552

Charles C. Harrell

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Pcplar Ave.

Ste. 500

Memphis7 TN 38119

Buckner Wellfcrd

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madiscn Ave.

Ste. 2000

Memphis7 TN 38103

Effle Vanzola Bean

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

l\/lemphis7 TN 38103--552

W. Bryan Smith

THE COCHRAN LAW FIRM
One Ccmmerce Square

26th Flccr

Memphis7 TN 38103

Joseph M. Rogers

HALE FOGLEMAN & ROGERS
108 Dover Road

P.O. BOX 1666

West Memphis, AR 72303

Case 2:05-cV-02145-SHI\/|-tmp Document 46 Filed 08/05/05 Page 3 of 3 Page|D 38

Charles F. Mcrrcw

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Pcplar Ave.

Ste. 500

1\/1emphis7 TN 38119

Honcrable Samuel Mays
US DISTRICT COURT

